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Attorneys for United States of America

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Elston Stephenson, CV-19-08268-PCT-DLR

Plaintiff, INTERVENOR UNITED STATES?’
MOTION TO DISMISS

Vs. PURSUANT TO RULES 12(b)(1) and
12(b)(6)

Brian Drapeaux,

Defendant.

The United States moves to dismiss Plaintiffs complaint.' Plaintiff has filed a claim
for injunction against harassment, in which he appears to allege Title VII claims of a hostile
work environment arising from “stalking” by Drapeaux, his supervisor, and/or tortious
conduct by Drapeaux under the Federal Tort Claims Act (FTCA).  Plaintiff’s own
pleadings admit that his work dispute allegations are related to claims he has pending

before the Equal Employment Opportunity Commission (EEOC).

' Counsel for the United States has requested authority to continue to represent Defendant
Drapeaux but has not yet received it; however, the arguments asserted in the United States’
motion apply equally to Drapeaux’s interests and positions.

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The Court should dismiss for lack of subject matter jurisdiction and failure to state
a claim because the Federal statutes prohibiting discrimination in Federal employment
provide the exclusive remedy for claims of discrimination brought by Federal employees.
Under the Title VII statutes, Federal employees are required to cither exhaust their
administrative remedies or provide timely notice to the EEOC prior to filing suit, Here,
Plaintiff has not alleged either that he properly exhausted his claims or provided notice to
the EEOC of his employment discrimination claims.

Further, to the extent Plaintiff's allegations can be construed as a tort claim, the
Court should dismiss for lack of subject matter jurisdiction. The FTCA, 28 U.S.C. §
1346(b), provides a cause of action against the Federal government for persons injured by
the tortious activity of a Federal employee acting within the scope of his office or
employment. Plaintiff has not satisfied the jurisdictional prerequisite to a civil lawsuit
under the FTCA since he never submitted an administrative tort claim with the National
Park Service,

I. Introduction.

Plaintiff filed a Petition for an Injunction against Harassment in a Flagstaff Justice
Court against his supervisor, Brian Drapeaux, Deputy Superintendent, Business
Operations. See Drapeaux Declaration, attached as Exhibit C, at { 1. Plaintiff alleges that
his Supervisor “stalked him.” Plaintiff brought this action after he learned that Drapeaux
had allegedly driven onto Plaintiff's street in a neighborhood in a Grand Canyon National
Park village to check on whether or not Plaintiff was misusing a government owned vehicle
(GOV). Plaintiff alleges that he has an EEOC claim, alleging “Plaintiff has open formal
EEOC complaint against Defendant which is likely to find [sic] in Plaintiff's favor.” Dkt.
1, at 8.7

* In connection with these claims, Plaintiff filed an internal complaint with the U.S.
Department of Interior, pursuant to Personnel Bulletin 18-01 (Exhibit A). Internal
complaints pursuant to the Bulletin in Exhibit A can be filed when an employee claims to
be subjected to harassment based on certain protected classification. These often precede
EEOC complaints. The Department found no merit to his Personnel Bulletin complaint.

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Defendant Drapeaux investigated Plaintiff because he had been directed by his own
Supervisor to confirm that Plaintiff was not using the GOV during the time Plaintiff had
been suspended and off duty. Exhibit C, at ] 2. Plaintiff had a history of often using the
GOV without checking it out under proper protocols, and taking unapproved leaves of
absences, setting his own work hours and schedule outside his mandated work hours
without pre-authorization, and often using the GOV during these time frames. /d. Plaintiff
would frequently take the GOV off Park land without permission, to run errands to cities
miles away. Jd.

Drapeaux also learned that Plaintiff treated the GOV as if it were his own personal
car, in violation of NPS policy. /d. at 3. He personally saw the GOV at a coffee shop
parking lot an hour away from the Grand Canyon and contacted Plaintiff inside the shop.
id. Plaintiff claimed to be working, though his duties had ended that day. Jd. Drapeaux
determined there was no valid business reason for the GOV to be there. Jd.

The NPS determined that Plaintiff was not accountable for his time and would take
unapproved leave and drive the GOV to various destinations both inside and outside the
Park without alerting anyone of the trips he was taking or their purposes. Jd. at J 4. For
instance, Plaintiff often used the GOV when he had no legitimate business reasons,
including taking it home overnight and driving to destinations outside the Park when he
was not on authorized travel. Jd.

Investigation of his failure to follow NPS leave procedures and being absent without
leave (AWOL) led to the Park issuing Plaintiff discipline in the form of a three day
suspension. See Exhibit B, Approval of Proposed Suspension, dated July 10, 2019.

Drapeaux thus exercised legitimate managerial oversight over Plaintiff when
Drapeaux checked the whereabouts of the GOV, both during and after the discipline that
Plaintiff received, Plaintiff now characterizes that oversight as “stalking.”

Plaintiff also alleged in his Petition that NPS management interfered with First Aid

classes he taught, when his supervisor limited his use of equipment for the classes and

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when managers attended the classes as part of routine oversight of its employees’ work
related activities, such as Plaintiff's.

Ii. Standard of review.

A motion to dismiss under 12(b)(1), F.R.C.P., tests the subject matter jurisdiction
of the Court. Savage v. Glendale Union High Sch., 343 F.3d 1036, 1039-40 (9th Cir.2003).
A Rule 12(b)(1) motion can either attack the sufficiency of the pleadings to establish
federal jurisdiction, or challenge the substance of the jurisdictional allegations despite the
formal sufficiency of the complaint. Thornhill Publ'g Co., Inc. v. Gen’l Tel. & Elecs.
Corp., 594 F.2d 730, 733 (9th Cir.1979). “A court lacks subject matter jurisdiction over a
claim against the United States if it has not consented to be sued on that claim,” Consejo
de Desarrollo Ecanomico de Mexicali, A.C. v. U.S., 482. F.3d 1157, 1173 (9th Cir,2007).
“Federal courts are courts of limited jurisdiction...It is to be presumed that a cause lies
outside this limited jurisdiction and the burden of establishing the contrary rests upon the
party asserting jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
377 (1994) (citations omitted).

Further, under Rule 12(b)(6), a district court must dismiss the complaint if it fails to
state a claim upon which relief can be granted. A court should grant dismissal pursuant to
Rule 12(b)(6) where there is either a “lack of cognizable legal theory” or “the absence of
sufficient facts under a cognizable legal theory.” Balistreri v. Pacifica Police Dep't, 901
F.2d 696, 699 (9th Cir.1990), That standard “requires more than labels and conclusions,
and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp.
v. Twombly, 550 U.S, 544, 555 (2007). Further, Rule 8 “requires a ‘showing,’ rather than
a blanket assertion, of entitlement to relief. Without some factual allegation in the
complaint, it is hard to see how a claimant could satisfy the requirement of providing not
only ‘fair notice’ of the nature of the claim, but also ‘grounds’ on which the claim rests.”
Id, at 556, n. 3. Further, a complaint does not suffice if it tenders “naked assertion[s]”
devoid of “further factual enhancement,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
quoting Twombly, 550 U.S, at 557.

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If. Plaintiffs claim of work-related harassment should be dismissed.

Plaintiff appears to seek relief for a claim of hostile work environment. He alleges
that he has suffered workplace harassment by Defendant Drapeaux by alleging that
Drapeaux came into his neighborhood and was stalking him. Plaintiff alleges this
harassment is related to his pending EEOC claims. Dkt 1 at 8. However, to establish a
prima facie claim of hostile work environment, a plaintiff must show that (1) he was
subjected to verbal or physical conduct of a racial, national origin, sexual, disability, or
age-based nature; (2) the conduct was unwelcome; and (3) the conduct was sufficiently
severe or pervasive to alter the conditions of employment and create an abusive work
environment. See Vasquez v. County of Los Angeles, 349 F.3d 634, 642 (9th Cir.2004);
see also Fuller v. City of Oakland, 47 F.3d 1522, 1527 (9th Cir.1995). A hostile work
environment exists only “[w]hen the workplace is permeated with discriminatory
intimidation, ridicule and insult that is sufficiently severe or pervasive to alter the
conditions of the victim’s employment and create an abusive working environment.”
Harris v. Forklift Sys, Inc., 510 U.S, 17, 21 (1993) (quotations and citations omitted). The
courts consistently apply this demanding hostile work environment standard “to ensure that
Title VII does not become a general civility code,” and to “filter out complaints attacking
the ordinary tribulations of the workplace.” Forager v. City of Boca Raton, 524 U.S. 775,
788 (1998). See also https://www.eeoc.gov/eeoc/index.cfm (EEOC only enforces federal
laws that make it illegal to discriminate against an employee because of the person’s race,
color, religion, sex, national origin, age, disability, genetic information, prior participation
in an employment discrimination investigation or lawsuit, or prior complaint of
discrimination).

Plaintiff's complaints about what occurred at work after he was disciplined and

suspended do not rise to the level of a hostile work environment as a matter of law.

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Plaintiff's claims merely involve Drapeaux’s legitimate oversight in checking on Plaintiff's
use of the GOV. Plaintiff had misused the vehicle and received discipline for the misuse,
and Drapeaux was following up to ensure that Plaintiff was not violating the terms of his
discipline.

Though he attempts to relate this to his EEOC claims, Plaintiff's harassment claims
appear to have no legitimate relationship to discrimination. His request for a restraining
order does not allege that any of defendant’s actions were based on any protected trait, His
vague allegations are thus insufficient to state an actionable hostile work environment
claim. Kortan v. California Youth Authority, 217 F.3d 1104, 1107, 1111 (9th Cir.2000);
Vasquez, 349 F.3d at 642 (finding no race-based hostile work environment where plaintiff
alleged supervisory coworker told plaintiff two racial comments, yelled at plaintiff, made
negative remarks about him to others, and made false complaints about plaintiff); Capristo
v. Brennan, No, C-15-1071 EMC, 2015 WL 4396268, at *5 (N.D. Cal, July 17, 2015)
(dismissing a hostile work environment claim in which the alleged misconduct was one
incident of yelling by a supervisor and plaintiff made no allegations that the verbal
harassment was based on plaintiff's race or national origin).

Rather, Plaintiff improperly seeks injunctive relief for allegedly irritating or
harassing acts such as Drapeaux coming near his home while he was suspended, Even if
Plaintiff could properly allege a Title VII violation involving a hostile work environment
tantamount to discrimination, no applicable waiver of sovereign immunity permits him to
obtain a restraining order against his supervisor for alleged employment discrimination
through state court civil procedural rules as Plaintiff has attempted with his filing for
injunctive relief. See Lau v. Wong, 2013 WL 2181655 at *1, *6 (plaintiff's FTCA and
Title VII claims were barred, dismissing the plaintiff’s request for a restraining order
against her supervisor based on allegations that supervisor ordered her into his office for
unclear reasons, berated her, acted in a belligerent and abusive manner, followed her

around the office, and threw a “reprimand letter” in the direction of her “vaginal area”),

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Plaintiff's claims are thus precluded by Title VII, and should be dismissed for lack of
subject matter jurisdiction.

Title VII is the exclusive judicial remedy for claims of race, national origin, religion,
or sex discrimination in federal employment and expressly limits a plaintiffs remedies to
those enumerated in the statute. Brown v, Gen. Servs. Admin., 425 U.S, 820, 825 (1976);
42 U.S.C. § 2000e-16, 42 U.S.C, § 2000e-5(f)-(k); Boyd v. USPS, 752 F.2d 410, 413-14
(9th Cir.1985); 42 U.S.C. § 2000e-16, 42 U.S.C. § 2000e-5(f)-(k). Where a federal
employee asserts a claim under Title VII, that statute is exclusive of any other remedy
against both the federal government and the individual Federal employee alleged to have
participated in the discrimination, White v. Gen. Servs. Admin., 652 F.2d 913, 916-17 (9th
Cir.1981), Accordingly, Plaintiff's action should be dismissed.

A. Plaintiff's employment discrimination claim is also subject to dismissal for
failure to exhaust administrative remedies.

Even if Plaintiff's allegations were legally viable as a Title VII claim, his
harassment action must be dismissed because Title VII requires that the federal employee
either exhaust her administrative remedies, or provide notice to the EEOC, as a statutory
precondition to filing suit. Where a plaintiff has not substantially complied with
administrative exhaustion requirements, the federal district court does not have subject
matter jurisdiction to hear a Title VII claim. Leong v. Poiter, 347 F.3d 1117, 1122 (9th
Cir.2003); see also Brown, supra, 425 U.S, at 832-33 (Title VID; Lyons v. England, 307
F.3d 1092, 1103 (9th Cir.2002). In this matter, Plaintiff both alleged that he has a
contemporaneous and related EEOC claim against Drapeaux, and also brought a potential
precursor action to this claim, See n.1, supra.

A federal employee seeking to pursue an individual complaint of discrimination
under Title VII must initiate contact with an EEO counselor within 45 days of the allegedly
discriminatory matter. 29 C.F.R. § 1614.105(a). If the matter is not resolved through
counseling, the EEO counselor must inform the complainant of the right to file a formal
complaint, 29 C.F.R. §§ 1614.105(b)(1), (c), (d), 1614.106(b). Once a formal EEO

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complaint has been filed, the Agency has 180 days from the filing date to investigate the
issues raised in the complaint. Only after 180 days have lapsed or the Agency has issued
a final agency decision, whichever is earlier, may the employee pursue a claim in federal
district court. 42 U.S.C. § 2000e-16(c); 29 C.F.R. §§ 1614.107(b). Given that he has failed
to follow this enumerated process, Plaintiff thus cannot obtain a restraining order against
his supervisor for alleged employment discrimination through state civil procedural rules.

Since Plaintiff has failed to exhaust these administrative remedies, the Court has no
subject matter jurisdiction,

TV.  Plaintifi’s tort claim should be dismissed for lack of subject matter
jurisdiction.

To the extent Plaintiff's request for a restraining order arises from alleged tortious
conduct, Drapeaux enjoys absolute immunity from suit for common law torts committed
within the scope of his Federal employment and should be dismissed. “Absent a waiver,
sovereign immunity shields the Federal Government and its agencies from suit.” FDIC v.
Meyer, 510 U.S, 471,475 (1994), A waiver of sovereign immunity must be “unequivocally
expressed in statutory text.” Lane v. Pena, 518 U.S. 187, 192 (1996). Under the FTCA,
the United States has waived its immunity from suit for certain torts and in expressly
prescribed circumstances. 28 U.S.C. §§ 1346(b), 2671-2680. The FTCA provides a cause
of action against the federal government for “persons injured by the tortious activity of an

employee of the United States where the employee was ‘acting within the scope of his

3 Finally, under Title VU, the only proper defendant to any claims brought by a Federal
employee is the head of the agency or department. 42 U.S.C. § 2000e-16(c). See e.g.
Johnston v. Home, 875 F.2d 1415, 1419-20 (9th Cir.1989); White, supra, 652 F.2d at 916,
n.4 (Title VIL); The Ninth Circuit has “consistently held that Title VII does not provide a
cause of action for damages against supervisors or fellow employees.” Holly D. v.
California Institute of Technology, 339 F.3d 1158, 1179 (9th Cir.2003); Hodge v. Dalton,
107 F.3d 705, 707 (9th Cir.1997) (“The doctrine of sovereign immunity applies to federal
agencies and federal officials acting within their official capacities.”). Thus the only proper
defendant in the Title VII claim would be the Secretary of the Interior, David Bernhardt.
Defendant Drapeaux should be dismissed.

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office or employment...’” Wilson v. Drake, 87 F.3d 1073, 1076 (9th Cir. 1996) (quoting
28 U.S.C.§ 1346(b)).

The FTCA provides a limited waiver of sovereign immunity. 28 U.S.C § 2675(a).
A district court has no subject matter jurisdiction over an FTCA claim unless the plaintiff
has first presented a claim to the appropriate agency, and either (1) the claim was “finally
denied” in writing, or (2) six months have passed since the claim was submitted. 28 U.S.C.
§ 2675(a). The claim requirement is jurisdictional in nature and cannot be waived. McNeil
v. U.S., 508 U.S. 106, 11-12 (1993); Burns v. U.S., 764 F.2d 722, 723 (9th Cir.1985). The
plaintiff in an action seeking relief under the FTCA has the burden of pleading and proving
that she complied with the FTCA’s administrative claim presentment requirement, See
Bruce v. U.S., 621 F.2d 914, 918 (8th Cir,1980). Because plaintiff cannot show that he
exhausted administrative remedies for his potential tort claim, the Court lacks subject
matter jurisdiction.

Further, the Federal Employees Liability Reform and Tort Compensation Act of
1988 provides that the FTCA is the exclusive remedy for tortious acts and omissions
committed by Federal employees acting within the scope of their employment, and
precludes other civil actions that arise out of such acts or omissions. See 28 U.S.C. §
2679(b)(1).

Conclusion

As discussed above, no applicable waiver of sovereign immunity permits a
restraining order against Plaintiff's supervisor. As the court stated in Andrejko. v. Sanders,
638 F.Supp. 449, 452 (M.D.1986):

Clearly there is a federal interest here. One can easily imagine the disruption that
might occur in federal work places if federal employees were allowed to lodge and
maintain state tort claims against any superior with whom they had an axe to grind,
The resultant wave of litigation might well impair the ability of the various federal
agencies to function efficiently.

See also Lau, supra, at *6 (“to allow [plaintiff's] claims to proceed now would be to allow

her to ‘circumvent the EEOC’s investigatory and conciliatory role, as well as deprive the

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charged party of notice of the charge.”) Plaintiff should not be allowed to violate this
public policy, or be allowed to avoid exhausting his claims, whether under Title VII or the

FTCA,

Accordingly, the entire action should be dismissed.
RESPECTFULLY SUBMITTED this 14th day of November 2019.

MICHAEL BAILEY
United States Attorney
District of Arizona

ce G. Tinsley, Jr.

Laurence G. Tinsley, Jr.
Assistant U.S. Attomey

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Case 3:19-cv-08268-DLR Documenti3 Filed 11/14/19 Page 11 of 11

CERTIFICATE OF SERVICE

I hereby certify that on November 14, 2019, | electronically transmitted the attached
document to the Clerk's Office using the CM/ECF System for filing and served a copy, via
first-class mail, postage prepaid, of the document to the following recipient who is not a
CM/ECF registrant:

Be oe Stephenson

Grand Canyon, AZ 86023
Plaintiff

s/lrene Millsaps
U.S. Attorney’s Office

-11

Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 12 of 27

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Phoenix District Office

3300 SN. Central Avenue, Suite 690
Phoenix. AZ 85012-24504

Direet Line: (602) 661-0034
Naney.GriMiihs(diceoc.gov

) EEOC No. 540-2019-00388X

Elston Stephenson, ) Agency No. NPS-18-0460
Complainant, )
)
Wa )
)
Deb Haaland, Secretary,
U.S. Department of Interior, National Park )
Service, )

Agency. ) Date: February 2, 2022

ORDER DISMISSING CASE PURSUANT TO SETTLEMENT OF THE PARTIES

Pursuant to the fully executed settlement agreement, the parties have settled the
complaint in its entirety. The complaint is hereby closed and dismissed with prejudice.

In the event the Agency fails to comply with the settlement agreement, Complainant
should refer to 29 C.F.R. § 1614.504.

[tis so ORDERED.

For the Commission: Nancy Griffiths
Nancy Griffiths
Administrative Judge
Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 13 of 27

CERTIFICATE OF SERVICE
For timeliness purposes, it shall be presumed that the parties received the foregoing ORDER within five

(5) calendar days after the date it was sent via first class mail or the date it was sent via e-mail or through
the FEDSEP system. | certify that the foregoing ORDER was sent on February 2, 2022 to the following:

Complainant:

Elston Stephenson

theswedepilot64(@hotmail.com
Agency Legal Representative:

Ryan Burton

ryan.burton@sol.doi.gov

Naney Griffiths
Nancy Griffiths
Administrative Judge
Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 14 of 27

2022.2.2 Order of Dismissal.pdf

NANCY GRIFFITHS <NANCY.GRIFFITHS@EEOC.GOV>

Wed 2/2/2022 9:44 PM

To: Burton, Ryan W <ryan.burton@sol.doi.gov>;theswedepilot64@hotmail.com
<theswedepilot64@hotmail.com>

i 1 attachments (39 IB)
2022.2.2 Order of Dismissal.pdf;

See attached order.
Thank you,

leneg Lynifthes

NANCY GRIFFITHS
Administrative Judge

EEOC Phoenix District Office

Nancy. griffiths@eeoc, gov
602-661-0034

Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 15 of 27

Re: [EXTERNAL] 2022.2.2 Order of Dismissal.pdf

Burton, Ryan W <ryan.burton@sol.doi.gov>

Wed 2/2/2022 11:21 PM

To: NANCY GRIFFITHS <NANCY,GRIFFITHS@EEOC.GOV =;theswedepilot64@hotmail,com
<theswedepilot64@hotmail.com>

Received. Thank you.

Ryan W. Burton | Attorney-Adviser

Employment & Labor Law Unit | Western Division
Office of the Solicitor | Department of the Interior
755 Parfet Street, Suite 151, Lakewood, CO 80215
(0) 303-445-0634

ryan. burton@sol.doi.gov

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Administrative Judge

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602-661-0034

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RE: [EXTERNAL] RE: Stephenson v. DOI - EEOC #540-2019-00388X

NANCY GRIFFITHS <NANCY.GRIFFITHS@EEOC.GOV >
Wed 2/2/2022 7:36 PM

To: Burton, Ryan W <ryan.burton@sol.doi.gov>
Cc: theswedepilot64 @hotmail.com <theswedepilot64 @hotmail.com>
Thank you, | will issue the order of dismissal later today.

+o Nene clyvifiits

NANCY GRIFFITHS
Administrative Judge

EEOC Phoenix District Office
3300 N. Central Ave. Ste, 690
Phoenix, AZ 85012
602-661-0034

Nancy.eriffiths@eeoc.gov

From: Burton, Ryan W <ryan.burton@sol.doi.gov>

Sent: Wednesday, February 2, 2022 12:34 PM

To: NANCY GRIFFITHS <NANCY.GRIFFITHS@EEOC.GOV>

Cc: theswedepilot64@hotmail.com

Subject: Re: [EXTERNAL] RE: Stephenson v. DO! - EEOC #540-2019-00388%

Judge Griffiths

| confirmed that this is the email the Agency has for Mr. Stephenson; however, | have not received a response
back from him,

Best,

Ryan W. Burton | Attorney-Adviser

Employment & Labor Law Unit | Western Division
Office of the Solicitor | Department of the Interior
755 Parfet Street, Suite 151, Lakewood, CO 80215
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From: NANCY GRIFFITHS <NANCY.GRIFFITHS@EEOC.GOV>

Sent: Monday, January 31, 2022 3:35 PM

To: Burton, Ryan W <ryan. burton @sol.doi.gov>

Subject: RE; [EXTERNAL] RE: Stephenson v, DOI - EEOC #540-2019-00388X

Thank you Mr. Burton. | will wait to hear back from you before issuing the Order of Dismissal.

SS leanyy (Sp ngftias
Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 17 of 27

NANCY GRIFFITHS
Administrative Judge

EEOC Phoenix District Office
3300 N. Central Ave. Ste, 690
Phoenix, AZ 85012
602-661-0034

Nancy, griffiths@eeoc, gov

From: Burton, Ryan W <ryan.burton@sol.daol,goy>
Sent: Monday, January 31, 2022 3:33 PM

To: NANCY GRIFFITHS <NANCY.GRIFFITHS@EEOC,GOV>
Subject: Re: [EXTERNAL] RE: Stephenson v. DOI - EEOC #540-2019-00388X

Judge Griffiths

| have the email: theswedepilot64@hotmail.cor also for Mr. Stephenson. | am waiting to get confirmation back
from Mr. Stephenson that this is still his active email.

Best,

Ryan W, Burton | Attorney-Adviser

Employment & Labor Law Unit | Western Division
Office of the Solicitor | Department of the Interior
755 Parfet Street, Suite 151, Lakewood, CO 80215
(O) 303-445-0634

ryan.burton@sol.doi.goy

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From: Burton, Ryan W <ryan.burton@sol.doj,gov>
Sent: Monday, January 31, 2022 10:40 AM

To: NANCY GRIFFITHS <NANCY.GRIFFITHS@EEOC.GOV>
Subject: Re: [EXTERNAL] RE: Stephenson v, DO! - EEOC #540-2019-00388X
Judge Griffiths

| have the below forwarding address from his SF-52. Another Solicitor negotiated the agreement; so | will
attempt to get an email address and forward it to you ASAP.
Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 18 of 27

eo en

- Forwarding - Address (Number, Street, i State, ZIP Cada}

Wiss én CNR Arne Me Palade CA

oni eine ROE ess Eee eS See neice ee me

~_

Ryan W. Burton | Attorney-Adviser

Employment & Labor Law Unit | Western Division
Office of the Solicitor | Department of the Interior
755 Parfet Street, Suite 151, Lakewood, CO 80215
(0) 303-445-0634

ryan. burton@sol.doi.gov

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From: NANCY GRIFFITHS <NANCY.GRIFEITHS@EI EOC,GOV>
Sent: Monday, January 31, 2022 10:30 AM

To: Burton, Ryan W <ryan.burton@sol.doi,goy>

Subject; [EXTERNAL] RE: Stephenson v, DOI - EEOC #540-2019-00388X

This email has been received from outside of DOI - Use caution before clicking on links, opening attachments, or
responding.

Mr. Burton,

Thank you for working cooperatively with Complainant to resolve this matter. | notice that one of the terms of the
settlement agreement is that Complainant resigned his position with DO| effective January 28, 2021.
Do you have a current email address for Mr. Stephenson?

Thank you,

Li Money cLynifiths

NANCY GRIFFITHS

Administrative Judge

EEOC Phoenix District Office

3300 N. Central Ave. Ste, 690

Phoenix, AZ 85012

602-661-0034

Nancy.griffiths@eeoc, gov
Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 19 of 27

From: Burton, Ryan W <pyan.burton@sal.doi, goy>
Sent: Monday, January 31, 2022 10:12 AM
To: NANCY GRIFFITHS <NANCY.GRIFFITHS@EEQC.GOV>

Ce: Stephenson, Elston L <elston_stephenson@nps.gov>
Subject: Re; Stephenson v. DOI - EEOC #540-2019-00388X

Judge Griffiths
Please find the settlement agreement for this case attached. Please let me know if you have any questions.

Best,

Ryan W. Burton | Attorney-Adviser

Employment & Labor Law Unit | Western Division
Office of the Solicitor | Department of the Interior
755 Parfet Street, Suite 151, Lakewood, CO 80215
{O) 303-445-0634

ryan. burton@sol.doi,gov

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Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 20 of 27

UNITED STATES OF AMERICA

U.S, OFFICE OF SPECIAL COUNSEL

ELSTON STEPHENSON, )
)
) ‘
) OSC Case No, MA-21-002117
v. )
) EEOC No. 540-2019-00388X, Agency No.
U.S. DEPARTMENT OF THEINTERIOR, ) NPS-18-0460
NATIONAL PARK SERVICE )
) Agency No. DOI-NPS-21-0287
Arency. )

SETTLEMENT AGREEMENT AND RELEASE

Elston Stephenson, (hereinafter Mr. Stephenson), and the U.S. Department of the Interior
(DOI), acting by and through Michacl Reynolds, Regional Director, National Park Service
(NPS), the DOI’s representative with actual settlement authority, mutually agree to the following
terms and conditions, and knowingly and voluntarily enter into this written Settlement Agreement
and Release, a document which fully and finally resolves the following: 1) all issues and concerns
and claims and assertions and allegations and complaints and causes of action potentially or
actually arising from Mr. Stephenson’s employment with the DOI and the National Park Service
(collectively referenced hercinafter as the DOI/NPS) on or before the effective date of this
Settlement Agreement; 2) all claims and complaints and causes of action that Mr. Stephenson did
file or could have filed on or before the effective date of this Settlement Agreement; and 3) all
issues and claims and complaints and causes of action potentially or actually arising from the
above-captioned complaints, Elston Stephenson v. U.S. Department of the Interior, EEOC No.
540-2019-00388X, Agency No. NPS-18-0460 filed on or about May 6, 2019, Elston Stephenson
v. U.S. Department of the Interior, DOI-NPS-21-0287 filed on or about August 17, 2021, and OSC
case no. MA-2)-002117 filed with the U.S. Office of Special Counsel on or about August 30,
2021.

Premis ecitals

WHEREAS, since June 25, 2017, Mr. Stephenson has held the position of Safety and

Occupational Health Manager, GS-0018-13, at the DOI/NPS Grand Canyon National Park
(GRCA), Arizona;

WHEREAS, on May 6, 2019, Mr. Stephenson filed an EEO complaint alleging
discrimination and harassment based on race identified as Stephenson v. U.S. Dep't of the Interior,
EEOC No. 540-2019-00388X, Agency No. NPS-18-0460;

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Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 21 of 27

2. Effect of Initials and Signatures. The initials and signatures affixed to this Settlement
Agreement establish that Mr, Stephenson and Michael Reynolds, Regional Director, on behalf
of DOI/NPS, (a) have read this entire document, (b) have knowingly, voluntarily, and in good faith
entered into this Settlement Agreement, (c) have not been induced by or through fraud,
misreprescntation, duress. threat, or coercion, (d) have not been misled by mutual mistake, (¢) fully
understand all terms and conditions described in this Settlement Agreement, (f) agree with all
terms and conditions described in this Settlement Agreement, and (g) agree to satisfy and perform,
in good faith, the terms and conditions described in this Settlement Agreement.

3. Mr. Stephenson Self-Executing Dismissal with Prejudice. On the effective datc of
this Settlement Agreement, Mr. Stephenson voluntarily and automatically cancels and dismisses

with prejudice the above-captioned EEOC case, identified as Elston Stephenson v. U.S. Dep't of
the Interior, EEOC No, 540-2019-00388X, Agency No. NPS-18-0460, Elston Stephenson v. U.S.

Department of the Interior, DOI|-NPS-21-0287, and OSC case no. MA-2)-002117, This
Settlement Agreement, upon its effective date, shall constitute Mr. Stephenson’s written, knowing,

voluntary, and automatic cancellation and dismissal with prejudice of the above-captioned EEOC

and OSC complaint.

4. No Actions Filed by Mr. Stephenson. Mr. Stephenson certifies that with the exception
of the above-captioned cases identified as Elston Stephenson v. U.S. Dep't of the Interior, EEOC
No. 540-2019-00388X, Agency No. NPS-18-0460, Elston Stephenson v. U.S. Department of the
Interior, DOI-NPS-21-0287, and OSC case no. MA-21|-002117, filed by Mr. Stephenson with the
EEOC on or about May 6, 2019 and the OSC on or about August 30, 2021, he has not filed or
made any complaint, grievance, claim, or appeal against DOI/NPS or any current or former
Agency employees in any judicial or administrative forum. Mr. Stephenson agrees that this
Settlement Agreement resolves all issues and claims associated with the above-captioned
EEOC/OSC cases identified as Elston Stephenson v. U.S, Dep't of the Interior, EEOC No. 540-
2019-00388X, Agency No. NPS-18-0460, Elston Stephenson v. U.S. Department of the Interior,
DOI-NPS-21-0287, and OSC case no, MA-21-002117, and he further agrees that this Settlement
Agreement resolves all issues, claims, and employment-related matters that Mr. Stephenson has
filed, could have filed, or contemplated filing against the DOI/NPS or any of its bureaus/sub-
components or current or former employees in any judicial or administrative forum, through and
including the date on which Mr, Stephenson initials, signs, and dates this Settlement Agreement.

Settlement Agreement Erston Srevnessox vo US. Dae rope ai inieniox, REOC No, $40-2019-00388X. DOIL-NPS-18-0460-
-Eiston So riewsayy US Devanrt stor ie ivieanion, DOLNPS-21-0287-
-OSC Case No, MA-21-002117 -
Initials of COMPLAINANT CA $Date _/ / 94/a0aa

Initials of SETTLEMENT AUTHORITY AY pate _|[e4]2022

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Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 22 of 27

WHEREAS, on June 23, 2021 Mr. Stephenson was issued an advance notice of proposed
14-day suspension by Louis Rowe, Deputy Superintendent, Operations and Resources, GRCA;

WHEREAS, on July 15, 2021, Edward Keable, Superintendent, GRCA, issued a decision
upholding the proposed | 4-day suspension;

WHEREAS, on August 30, 2021, Mr. Stephenson filed a complaint with the U.S. Office
of Special Counsel alleging that the 14-day suspension proposed issued on June 23, 2021 and
upheld on July 15, 2021 was retaliation for making a protected disclosure to the Occupational
Safety and Health Administration (OSHA) designated as OSC cause no, MA-21-002) 17;

WHEREAS, on August 17, 2021, Mr. Stephenson filed an EEO complaint alleging discrimination
and harassment based on race and reprisal identified as Elston Stephenson v. U.S. Dep't of the
Interior, Agency No. DOI-NPS-21-0287;

WHEREAS, Mr. Stephenson and the DOI/NPS have mutually expressed interest in
amicably resolving all claims and complaints (including his assertions, allegations, and/or claims
raised in Elston Stephenson v, U.S. Dep't of the Interior, EEOC No, 540-2019-00388X, Agency
No. NPS-18-0460, Elston Stephenson v, U.S, Department of the Interior, DOI-NPS-21-0287, and
OSC case no, MA-21-002117), and all causes of action, potentially or actually made or filed by
Mr. Stephenson, arising from his employment with the DOI/NPS;

WHEREAS, Mr. Stephenson knowingly and voluntarily agrees to settle all allegations and
assertions and issues and claims and concerns and complaints (including the above-captioned
EEOC/OSC cases) and all causes of action arising from his employment with the DOI/NPS and
arising from the above-captioned EEOC and OSC complaints, and Mr. Stephenson and the
DOVNPS seek to avoid administrative and/or judicial litigation in accordance with the terms and
conditions fully described below;

NOW THEREFORE, in consideration of these premises, Mr. Stephenson and the DOI/NPS
intend to be legally bound by, and knowingly, voluntarily, and mutually agree to, the terms and
conditions described fully below.

Terms and Conditions

1. Effective Date. This Scitlement Agreement shall become effective on the eighth
calendar day after Appellant initials, signs, and dates this Settlement Agreement. This date shall
be hereinafler referred to as the “effective date.”

Settlement Agreement — Eeston Srernexsa VOLS. Dery ot re iwiraion. UROC No. $40-2019-00388X. DOI-NPS-18-0460-
“Eston Sit riensan v U.S. Deanne on tte ivi aie, DOI-NPS-21-0287-
-OSC Case Na, MA-21-002117

Initials of COMPLAINANT ZA $Date 1 a 4/ A092

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Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 23 of 27

to

personnel practice, treated Mr. Stephenson in a discriminatory or retaliatory manner, or violated
any Federal or State laws, rules, regulations, or policies. This Settlement Agreement is entered
into by Mr. Stephenson and the DOI/NPS for the purpose of compromising disputed claims and
avoiding the expenses and risks of litigation, not for the purpose of assigning blame or validating
any claim(s} made by Mr. Stephenson relevant to the above-referenced employment matters,
and/or other pending or contemplated claims dismissed, waived, withdrawn, and released in
accordance with the terms of this Settlement Agreement.

21. Merger Clause. This Scttlement Agreement represents the complete understanding
between Mr. Stephenson and the DOJ/NPS, and supersedes all other written and verbal (express
or implied) agreements that Mr. Stephenson and the DOI/NPS discussed or exchanged or
considered and that address the above-referenced employment matters, and/or other pending or
contemplated claims dismissed, waived, withdrawn, and released in accordance with the terms of
this Settlement Agreement.

Amend /Modifications in Writing. This document constitutes the final and
complete statement of the terms contained in the Settlement Agreement and agreed to by the
parties. There are no other terms expressed or implied. The terms of this Settlement Agreement
may not be modified or renegotiated unless in writing and by mutual written consent signed by
Mr. Stephenson and the DOM/NPS, acting by and through an authorized Agency representative.

23. Severability. If any paragraph or portion of this Settlement Agreement is determined
to be unenforceable, the rest and remainder of this Settlement Agreement shall remain in full force
and effect. Mr. Stephenson and the DOI/NPS agree that the terms and provisions of this Settlement
Agreement shall be deemed severable, and any invalidity or unenforceability of any provision(s)
found in this Settlement Agreement shall not affect the validity or enforceability of this Settlement
Agreement as a whole.

24. Remedy/Remedics for Breach. Mr. Stephenson and the DOI/NPS agree and
acknowledge that cither parly’s failure to meet and satisfy obligations which arise from and under
this Settlement Agreement shall constitute a breach of this Settlement Agreement, giving the non-
breaching party the right to an appropriate remedy permitted by law.

25. Duplicate, Faxed and Electronic Copies as Originals. This Settlement Agreement
may be initialed, signed, and dated in any number of counterparts. If duplicate, faxed, and
electronic copies of this Settlement Agreement contain identical initials, signatures, and dates as
in the original, the duplicate, faxed, and clectronic copies of this Settlement Agreement shall
represent originals and have the same force and effect as an original.

Seulement Agreement Exsron SHPHENSONY. US: Dre “ror rie interior, EEOC No. 540-2019-00388X, DOL-NPS-18-0460-
FENTON STerar xson v, U.S. Devan ycoe rie ivrpRik, DOJ-NPS-21-0287-

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Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 24 of 27

THE WHITE HOUSE
WASHINGTON, OC 20500

Elston Stephenson
PO Box 129
Grand Canyon, Arizona 86023-0129

Case 3:19-cv-08268-DLR Document 52-1 Filed 02/06/23 Page 25 of 27

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Stephenson v. Drapeaux

Arizona District Court

Case Filed: Sep 18, 2019
Judge: Douglas L Rayes Terminated: Feb 21, 2020
Case #: 3:19-ev-08268 Case in other court: Flagstaff Justice Court, J0301P02079000269
Nature of Suit 890 Other Statutes - Other Statutory Actions
Cause 28:1442 Petition for Removal

Docket Parties (3) Opinions (1)

Docket last updated: 6 hours ago

Monday, November 02, 2020

2 ES eee

Mail Returned as Undeliverable, Mail sent to Elston L Stephenson. Reason for retum: Refused. D ber48 . (SST)

Monday, October 26, 2020

so 3 ESM
*Document filed in the incorrect case. All docket text associated with the entry has been removed on 10/27/2020 (SCH)

49 BS CO Ee
Mail Returned as Undeliverable. Mail sent to Elston L Stephenson. Reason for retum: Refused. Document number 46. (WLP)

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8/24/2019 DEPARTMENT OF THE INTERIOR Mail - Re: Reminder regarding Stephenson suspension

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bao) S[ SI e1g

Re: Reminder regarding Stephenson suspension

1 message

Drapeaux, Brian <brian_drapeaux@nps.gov>

To: Woody Smeck <woody_smeck@nps.gov>, Sean Quinn <sean_quinn@nps.gov>

Hi Woody,

In response to your email from July 21, 2019, on July 22, 2019 at approximately 11:00 AM, | drove past Elston's house to
see if his government vehicle was parked al his residence and it was parked in his drive way. My assumption from seeing
the gov't vehicle was that he was not driving it and therefore not working and in compliance of his suspension. My next
(wo steps to ensure suspension compliance if necessary, would have been if the government vehicle was not at his
residence, | would have driven over to Facilities and walked up to the second floor to see if he was in his office and if |
then could not find him and thought he was working during his suspension, | would have contacted him by his gov't phone
and/or his personal cell to remind him of his suspension and further directives stated in your email above.

Let me know if you need more information.

Brian

Brian Drapeaux

Deputy Superintendent, Business Operations
Grand Canyon National Park

P.O. Box 129

Grand Canyon AZ 86023

928-638-7945 Phone

928-638-7815 Fax
Brian_Drapeaux@nps.gov

On Mon, Jul 22, 2019 at 10:38 AM Drapeaux, Brian <brian_drapeaux@nps.gov> wrote:
| Hi Woody,
Yes, | am aware of the dates July 22-July 24.

| thanks,
| Brian

Brian Drapeaux

Deputy Superintendent, Business Operations
_ Grand Canyon National Park
| P.O. Box 129

Grand Canyon AZ 86023

928-638-7945 Phone

928-638-7815 Fax

Brian_Drapeaux@nps.gov

On Sun, Jul 21, 2019 at 1:49 PM Woody Smeck <woody_smeck@nps.gov=> wrote:
| Brian,

| | expect you're tracking this, but wanted to remind you that Elston

hilps://mail.goagle.com/mail/u/07ik=957edd4/91 &view=pt&search=all&apermihid=thread-f'43A1639702484294488991 %7Cmsg-1%9A16401408776159...

317

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Smeck, Woody <woody_smeck@nps.gov>

Fri, Jul 26, 2019 at 9:56 AM

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6/24/2019 DEPARTMENT OF THE INTERIOR Mail - Re: Reminder regarding Stephenson suspension

| | will be serving a three day suspension starting Monday, July 21. He
should not be using government furnished equipment, vehicles, or
communications, and he should not be claiming paid or extra hours.

| will be in Washington DC, but please call or work with Lisa if there
are any concems.

Woody Smeck

Acting Superintendent
Grand Ganyon National Park
P.O. Box 129 '
Grand Canyon, AZ 86023

928-538-945 office
559-788-9247 mobile

hitps://mail.google.com/mall/w07ik=957edd4f31 &view=pt&search=all&parmthid=lhread-™3A1639702484294488991%7Cmsg-P3A16401408776159... 2/2
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